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IN THE UNITED STATES DISTR_[CT COURT _
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FOR THE WESTERN DISTRICT OF TENNESSEE l “ ‘J' 0
WESTERN DIVISION

United States ofAmerica,

 

Plaintiff, Civil No. 04-2476-B/P
V.
One (l) Negotiable Check in the Amount
of 37,000.00 and the Funds Represented
Thereby,
Defendant.
CONSENT ORDER
Pursuant to the consent and agreement of the parties hereto, by and through their respective
attomeys, it is hereby ORDERED, ADJUDGED, AND DECREED that:
l. The defendant property shall be divided as follows:
a. Three thousand dollars ($3,(}00.00) shall be forfeited to the United States to
be disposed of in accordance with law.
b. The remainder, thirty-four thousand dollars ($34,000.00) shall be remitted to
Claimant’s attorney, David Segal, 30 Vesey Street, Suite 900, New York, New York 10007, for
return to the Clairnant.
2. The Claimant admits no liability in connection With the seizure of the above-
described property, Which is the subject of this suit.
3. The United States of America, its agents and employees, are released from any and
all claims that might result from the seizure of the defendant property and its subsequent partial

release to Claimant as described herein.

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4. This action shall be dismissed with prejudice; and each party shall bear its own
attorney’s fees and costs. Any cost bond submitted by the Claimant in connection with the above-
styled case shall be remitted to Claimant’s attorney for return to Claimant.

5. The Clerk of Court shall prepare a judgment incorporating the tenns of this Order.

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. 15 NIEL BREEN \
Unit d States District lodge
APPROVED AND CONSENTED;

TERRELL. L. HARR_lS

United States Attorney
BY: ; M_\ EW

RISTOPHER E. COTTEN
Assistant United States Attorney
At ey for Plaintiff

G.AA.:L£/
DAVID sEGAL '
Attorney for the Claimant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CV-02476 was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Christopher E. Cotten

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David Segal

LAW OFFICE OF DAV]D SEGAL
30 Vesey St.

Ste 900

New York7 NY 10007

Honorable .l. Breen
US DISTRICT COURT

